






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00124-CR






Lee Roy Bara, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF MCCULLOCH COUNTY, 198TH JUDICIAL DISTRICT

NO. 4866, HONORABLE EMIL KARL PROHL, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N

PER CURIAM

		Appellant pleaded guilty to committing the offense of driving while intoxicated and
was placed on community supervision.  The State subsequently filed a motion to revoke probation,
which the district court granted.  Appellant was then sentenced to two years' imprisonment.  This
appeal followed.

		Appellant's brief was due in this Court on June 10, 2009.  On June 24, 2009, we
notified appellant's counsel that appellant's brief was overdue and that, if we did not receive a
satisfactory response from counsel on or before July 6, 2009, a hearing before the district court
pursuant to Tex. R. App. P. 38.8(b) would be ordered.

		As of this date, no brief has been filed.  Instead, on July 7, 2009, we received
from&nbsp;counsel a "motion to withdraw appeal and response to court's order."  In the motion, counsel
represents that, after this appeal was perfected, appellant entered into a plea bargain agreement in
a separate cause.  According to counsel, appellant agreed, as part of the plea bargain, to withdraw
and not prosecute the appeal in this cause.  However, counsel further represents that subsequent to
the "[p]lea agreement being consummated and prior to mailing the Appellant a written Motion
to&nbsp;Dismiss the Appeal, the wife of the Appellant informed [counsel] that the Appellant would refuse
to execute the written Motion to Dismiss."  Additionally, in the record before us is a handwritten
"notice to withdraw appeal," signed by appellant and filed with the district court on June 25, 2009. 
In the notice, appellant states that he "will not be filing for an appeal" in this cause, but he also
complains that his counsel rendered ineffective assistance.

		In counsel's "motion to withdraw appeal," counsel prays that this Court "either
abate&nbsp;the Appeal for an indeterminate period or, alternatively, permit the withdrawal of this
appeal&nbsp;pursuant to the plea agreement."  A copy of the plea agreement is not in the record before us. 
However, attached to counsel's motion is a copy of the district court's docket sheet with a
handwritten notation seemingly indicating that the appeal in this cause was withdrawn.

		We also note that the record currently does not include a copy of the trial court's
certification of defendant's right to appeal.  See Tex. R. App. P. 25.2(d).  On May 5, 2009, we
notified the district clerk that the required certification was missing and requested that a
supplemental clerk's record containing the certification be filed by May 15, 2009.  On May 12, 2009,
we received notice from the district clerk that "the court's file did not contain the certification
of&nbsp;defendant's right to appeal signed by the judge and defendant's counsel."  In the notice, the
district clerk indicated that, "the district attorney's office together with the defendant's attorney
are&nbsp;working on getting that document signed."  We received a supplemental clerk's record on July&nbsp;1,
2009.  However, that record contains only a blank certification form, undated and unsigned by
appellant, counsel, and the presiding judge.

		We grant counsel's motion in part.  We abate the cause and remand it to the
district&nbsp;court to hold a hearing in accordance with rule 38.8 of the rules of appellate procedure. 
Tex.&nbsp;R. App. P. 38.8(b)(2),&nbsp;(3).  The district court shall hold a hearing immediately to determine
whether appellant has withdrawn his appeal and, if not, whether appellant still wishes to prosecute
his appeal, whether appellant is indigent, and whether counsel has abandoned the appeal.  See id. 
If appellant has not withdrawn his appeal, still desires to appeal, and is indigent, the district court
should make appropriate orders to ensure that appellant is adequately represented on appeal.  See id. 
Following the hearing, the district court should order the appropriate supplementary clerk's
and&nbsp;reporter's records to be prepared and forwarded to this Court no later than August 24, 2009. 
See&nbsp;id.  The supplementary clerk's record should also include a copy of the completed certification
indicating whether appellant has waived his right of appeal.



Before Justices Patterson, Puryear and Pemberton

Abated

Filed:   July 24, 2009

Do Not Publish


